  Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 1 of 24 PageID #: 54




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ZAVALA LICENSING LLC,                 §
                                      §
                  Plaintiff,          §
                                      §               C.A. No. 1:19-cv-00606-CFC
      v.                              §
                                      §               PATENT CASE
MOSELEY ASSOCIATES, INC.,             §
AXXCSS WIRELESS SOLUTIONS, INC., §                    JURY TRIAL DEMANDED
                                      §
                  Defendant.          §
_____________________________________ §

            FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Zavala Licensing LLC (“Plaintiff” or “Zavala”) files this Complaint against

Moseley Associates, Inc. and Axxcss Wireless Solutions, Inc., (collectively “Defendant” or

“Moseley”) for infringement of United States Patent No. 6,684,086 (hereinafter “the ’086 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising under

the United States patent statutes. Further, Defendant is a Delaware corporation.

       3.      Plaintiff is a Texas limited liability company with its office address at 15922

Eldorado Pkwy., Ste. 500, Frisco, TX 75035.

       4.      On information and belief, Defendant is a Delaware Corporation with a principal

address of 82 Coromar Drive, Santa Barbara, CA 93117.

       5.      On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in this District,



PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                                      PAGE | 1
  Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 2 of 24 PageID #: 55




has conducted business in this District, and/or has engaged in continuous and systematic activities

in this District.

        6.          On information and belief, Defendant’s instrumentalities that are alleged herein to

infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                                VENUE

        7.          Venue is proper in this District pursuant to 28 U.S.C. § 1400(b) because Defendant

is incorporated in Delaware.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 6,684,086)

        8.          Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.          This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.         Plaintiff is the owner by assignment of the ’086 Patent with sole rights to enforce

the ’086 Patent and sue infringers.

        11.         A copy of the ’086 Patent, titled “Radio Base Station Device and Radio

Communication Method,” is attached hereto as Exhibit A.

        12.         The ’086 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

        13.         On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claims 1 and 9, of the ’086 Patent by making, using, importing,

selling, and/or offering for sale radio base station equipment and systems, which are covered by at

least Claims 1 and 9 of the ’086 Patent. Defendant has infringed and continues to infringe the ‘086

patent directly in violation of 35 U.S.C. § 271.




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                                          PAGE | 2
  Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 3 of 24 PageID #: 56




       14.     Defendant sells, offers to sell, and/or uses radio base station equipment including,

without limitation, the AxxceLTE eNodeB, and any similar products (“Product”), which infringe

at least Claims 1 and 9 of the ’086 Patent. The Product comprises a radio base station apparatus

(e.g., an LTE base station). As an LTE Base Station, the Product complies with the LTE Release

8 Standard. Certain claim elements are illustrated in the publicly available information regarding

the Product, as shown below:




       http://www.axxcelera.com/product_item_detail.php?id=3069


       15.     The Product comprises an estimation section (e.g., a processing block) that

estimates arrival directions of receiving signals (e.g., direction of received uplink signal) from a

plurality of communication terminals (e.g., mobiles, smartphones, tablets, etc.). The Product is

configured to utilize TM7 Adaptive Beamforming as defined by the LTE Release 8 Standard. Base

Stations capable of TD/TDD LTE must support TM7 Beamforming. This mode of beamforming

uses UE-specific reference signals in order to determine beamforming weightings. To do so, a



PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                                      PAGE | 3
  Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 4 of 24 PageID #: 57




system utilizing TM 7 determines the Direction of Arrival (DOA) of a UE uplink signal and utilizes

the DOA to calculate appropriate beamform weightings.          In order to calculate beamform

weightings based on the DOA of uplink signals sent by UE Devices, there must be some form of

processing block within the accused product. These and other elements are illustrated in the

publicly available information regarding the Product, as shown in connection with the above

allegations and as further shown below.




 http://www.axxcelera.com/product_item_detail.php?id=3069




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                                     PAGE | 4
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 5 of 24 PageID #: 58




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                 PAGE | 5
  Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 6 of 24 PageID #: 59




       16.     The Product comprises a group dividing section (e.g., a processing unit) that divides

the plurality of communication terminals (e.g., mobiles, smartphones, tablets, etc.) into a plurality

of groups (e.g., dividing mobiles into different sectors within a cell), based on the estimated arrival

directions of the receiving signals. The Product divides multiple communication terminals into

groups based on the estimated arrival directions of the receiving signals. The base station selects

a specific sector antenna to service a particular mobile device if the direction of arrival of a

reference signal from the mobile device lies within the direction of arrivals corresponding to a

particular sector antenna. In LTE networks, a base station contains multiple antenna (or antenna

arrays) to serve users within a cell. A cell can be divided into either 6 sectors or 3 sectors.




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                                         PAGE | 6
  Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 7 of 24 PageID #: 60




The accused product divides multiple communication terminals into groups based on the estimated

arrival directions of the receiving signals. The base station selects a specific sector antenna to

serve a mobile device, if the direction of arrival of the reference signal from the mobile device lies

within the sector served by a particular antenna. For example, if there are three sector antennas

(or antenna arrays) to serve a cell, the cell is separated into 120-degree angular coverage areas, so

together, they can serve all the users of a particular cell. Similarly, in a situation where six sector

antennas (or antenna arrays) are used, antennas (or antenna arrays) are separated into 60-degree

angular coverage areas, so together, they can serve all the users of a particular cell. To determine

which sector a user device is located within, an LTE base station utilizes the direction of arrival

ties to uplink signals sent from a user device. All the user devices within a particular cell are

grouped into a group, N, where N is the number of a sector antenna (antenna array). The

determination of a user device’s location within a particular section can change based upon that

user’s movement and thus, grouping of user devices into a particular sector occurs on a dynamic

basis. This is illustrated in the publicly available information above and additional information

below.




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                                         PAGE | 7
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 8 of 24 PageID #: 61




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                 PAGE | 8
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 9 of 24 PageID #: 62




http://www.commscope.com/Blog/Cells--Sectors-and-Antenna-Beamforming/




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                   PAGE | 9
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 10 of 24 PageID #: 63




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                PAGE | 10
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 11 of 24 PageID #: 64




       17.     The Product comprises an assignment control section (e.g., a scrambling sequence

generator block) that assigns a same scramble code to all communication terminals (e.g., mobiles,

smartphones, tablets, etc.) belonging under a same group (e.g., mobiles under a sector of a cell).

The scrambling sequence depends upon the initialization value of the scrambling sequence, which

in LTE, is calculated based upon the physical layer cell identity. In LTE, a physical layer cell

identify is assigned to each sector of a cell. In LTE, each sector is assigned a physical layer cell

identity. The scrambling sequence generator then generates a scrambling sequence (scrambling

code) based on the physical layer cell identity. Thus, the scrambling code for all the users of a

particular sector will be the same because the physical layer cell identity for the sector is the same.

The same scramble code is assigned to all communication terminals belonging under a same group




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                                        PAGE | 11
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 12 of 24 PageID #: 65




(e.g., the same sector). The equation below shows that the scrambling sequence depends on the

value of the physical layer cell identity (NID¬Cell). This is illustrated in the publicly available

information above and the additional information below.




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                                    PAGE | 12
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 13 of 24 PageID #: 66




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                PAGE | 13
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 14 of 24 PageID #: 67




       18.     The Product comprises a calculation section (e.g., a precoding weights generating

block) that calculates a transmission weight (e.g., a precoding weight) to perform directional

transmission (e.g., user equipment specific beamforming) to the plurality of communication

terminals (e.g., mobiles, smartphones, tablets, etc.). This is illustrated in the publicly available

information above and the additional information below:




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                                     PAGE | 14
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 15 of 24 PageID #: 68




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                PAGE | 15
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 16 of 24 PageID #: 69




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                PAGE | 16
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 17 of 24 PageID #: 70




       19.     The Product comprises a directional transmission section (e.g., antenna section)

that directionally transmits (e.g., user specific beamforming) a transmission signal modulated with

the assigned scramble code (e.g., an OFDM signal), using the calculated transmission weight (e.g.,

determined precoding weight). The Product modulates the scrambled transmission signals (e.g.,

code words) and also comprises a directional transmission section (e.g., antenna section) which

directionally transmits (e.g., a user specific beamforming) the modulated signal to the plurality of

communication terminals (e.g., mobiles, smartphones, tablets, etc.) using the calculated

transmission weight (e.g., determined precoding weight). This is illustrated in the publicly

available information above and the additional information below.




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                                     PAGE | 17
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 18 of 24 PageID #: 71




       20.     The Product comprises a calculation section (e.g., a precoding calculation section)

calculates the transmission weight (e.g., a precode) that is common to all the communication

terminals (e.g., mobiles, smartphones, tablets, etc.) belonging under the same group (e.g., mobiles



PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                                    PAGE | 18
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 19 of 24 PageID #: 72




under a sector of a cell). Shown below is the beam pattern of a 6-sector cell in LTE. Each sector

has one beam associated therewith.       Because transmission weights/precoding weights are

calculated for forming beams and each sector has one beam associated therewith, the transmission

weight will be common for all the communication terminals within a sector. This is illustrated in

the publicly available information above and the additional information below.




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                                   PAGE | 19
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 20 of 24 PageID #: 73




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                PAGE | 20
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 21 of 24 PageID #: 74




       21.     The Product comprises a directional transmission section (e.g., antenna section)

that performs transmission with a same directivity (e.g., user-specific beamforming) to all the

communication terminals (e.g., mobiles, smartphones, tablets, etc.) belonging under the same

group (e.g., mobiles under a sector of a cell). Because all communication terminals (e.g., user

devices) within a single sector of a cell are served by the same antennae beam, all transmissions

to the communications terminals must share the same directivity. These elements are illustrated

in the screen shots provided in connection with other allegations herein.

       22.     Regarding Claim 9, the Product (e.g., LTE base station) practices a radio

communication (e.g., cellular communication) method. The Product practices estimating arrival

directions of receiving signals (e.g., direction of received uplink signal) from a plurality of



PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                                   PAGE | 21
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 22 of 24 PageID #: 75




communication terminals (e.g., mobiles, smartphones, tablets, etc.). The base station estimates

direction of arrival of receiving signal from a user equipment for optimum beamforming. The

Product practices dividing the plurality of communication terminals into a plurality of groups (e.g.,

dividing mobiles into different sectors within a cell), based on the estimated arrival directions of

the receiving signals. The base station selects a specific sector antenna for a mobile, if the direction

of the arrival of reference signal from the mobile lies in the sector of that antenna. The Product

practices assigning a same scramble code to all communication terminals belonging under a same

group (e.g., mobiles under a sector of a cell). Upon information and belief, the accused product

practices assigning, by an assignment control section (e.g., a scrambling sequence generator

block), which assigns a same scramble code to all communication terminals belonging under a

same group. The scrambling sequence depends upon the initialization value of the scrambling

sequence, which is calculated on basis of the physical layer cell identity of the base station. The

physical layer cell identity determines cell ID group and cell ID sector. The accused product

practices calculating a transmission weight (e.g., a precoding weight) to perform directional

transmission (e.g., user equipment specific beamforming) to the plurality of communication

terminals (e.g., mobiles, smartphones, tablets, etc.).         The Product practices directionally

transmitting (e.g., user specific beamforming) a transmission signal modulated with the assigned

scramble code (e.g., an OFDM signal), using the calculated transmission weight (e.g., determined

precode). The Product modulates the scrambled transmission signals (e.g., code words) and also

comprises a directional transmission section (e.g., antenna section) which directionally transmits

(e.g., a user specific beamforming) the modulated signal to the plurality of communication

terminals (e.g., mobiles, smartphones, tablets) using the calculated transmission weight (e.g.,

determined precode). The Product practices, in the transmission weight calculation step, the




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                                         PAGE | 22
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 23 of 24 PageID #: 76




calculated transmission weight (e.g., a precode) that is common to all the communication terminals

belonging under the same group. The Product practices in the directional transmission step,

transmission is performed with a same directivity (e.g., user-specific beamforming) to all the

communication terminals belonging under the same group. These elements are further illustrated

in the allegations above in connection with Claim 1.

          23.    Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

          24.    Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

          25.    Plaintiff complies with 35 U.S.C. § 287.

                                          JURY DEMAND

          Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully requests a

trial by jury on all issues so triable.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 6,684,086 (or, in the

alternative, awarding Plaintiff a running royalty from the time of judgment going forward);




PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                                      PAGE | 23
 Case 1:19-cv-00606-CFC Document 8 Filed 10/03/19 Page 24 of 24 PageID #: 77




       (c)       Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

       (d)       Award Plaintiff pre-judgment and post-judgment interest and costs; and

       (e)       Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.

Dated: October 3, 2019                          Respectfully submitted,

                                                DEVLIN LAW FIRM LLC

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PLAINTIFF’S FIRST AMENDED COMPLAINT AGAINST DEFENDANT                                         PAGE | 24
